        Case 5:21-cv-00844-XR Document 715-1 Filed 08/15/23 Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO, et al.,

                       Plaintiffs,

                 v.                                      Civil Action No. 5:21-cv-844 (XR)
                                                         (consolidated cases)
GREGORY W. ABBOTT, et al.,

                       Defendants.


  UNITED STATES’ OBJECTIONS AND COUNTER-DESIGNATIONS TO STATE
DEFENDANTS’ AND INTERVENOR-DEFENDANTS’ DEPOSITION DESIGNATIONS


                                                                           Counter-
      Witness               Designation        Objection(s)
                                                                         Designation(s)

Hollins, Chris        129:25-130:9        Leading; Relevance

Hollins, Chris        178:1-4             Incomplete designation; 175:14-22, 175:24-
                                          Vague; Relevance        176:15, 178:7-179:2

Ramón, Yvonne         41:22-43:2          Leading; Vague as to
Apr. 21, 2022                             “involved”

Ramón, Yvonne         68:20-69:18         Lack of personal           68:13-19
Apr. 21, 2022                             knowledge; Calls for
                                          speculation; Relevance
                                          See 68:13-19: Ms.
                                          Ramón testifies she
                                          does not know
                                          legislators’ reasons for
                                          passing SB1

Ramón, Yvonne         74:4-16             Hearsay; Vague             74:17-75:7
Apr. 21, 2022

Ramón, Yvonne         75:12-24            Leading (as to 75:12-      75:25-76:2
Apr. 21, 2022                             21); Vague and
                                          ambiguous as to “we”
      Case 5:21-cv-00844-XR Document 715-1 Filed 08/15/23 Page 2 of 7




                                                                         Counter-
    Witness            Designation            Objection(s)
                                                                       Designation(s)

Ramón, Yvonne    88:18-22                Lack of foundation;        68:13-19
Apr. 21, 2022                            Calls for speculation;
                                         Relevance
                                         See 68:13-19: Ms.
                                         Ramón testifies she
                                         does not know
                                         legislators’ reasons for
                                         passing SB1

Ramón, Yvonne    88:23-24                No witness testimony       68:13-19
Apr. 21, 2022                            designated in response
                                         to designated question;
                                         Lack of foundation;
                                         Calls for speculation;
                                         Relevance

Ramón, Yvonne    89:15-22                Lack of foundation;        68:13-19
Apr. 21, 2022                            Assumes facts not in
                                         evidence (no indication
                                         of what “this
                                         paragraph” refers to);
                                         Calls for speculation;
                                         Relevance

Ramón, Yvonne    93:12-16                Lack of foundation;
Apr. 21, 2022                            Assumes facts not in
                                         evidence (no testimony
                                         designated regarding
                                         “those budget issues”);
                                         Relevance

Ramón, Yvonne    93:17-94:7              Relevance
Apr. 21, 2022

Ramón, Yvonne    94:8-94:12              Incomplete response
Apr. 21, 2022                            designated; Relevance

Ramón, Yvonne    111:21-25               Vague and ambiguous
Apr. 21, 2022                            as to what “application”
                                         means; assumes facts
                                         not in evidence
                                         regarding “online
                                         application”; Relevance




                                     2
      Case 5:21-cv-00844-XR Document 715-1 Filed 08/15/23 Page 3 of 7




                                                                          Counter-
    Witness            Designation            Objection(s)
                                                                        Designation(s)

Ramón, Yvonne    112:10-113:5            Vague and ambiguous
Apr. 21, 2022                            as to what “application”
                                         means; Relevance

Ramón, Yvonne    137:12-138:14                                      138:23-139:12
Apr. 21, 2022

Ramón, Yvonne    143:16-145:1                                       142:23-143:15; 145:2-
Apr. 21, 2022                                                       15

Ramón, Yvonne    146:11-147:2                                       147:3-11
Apr. 21, 2022

Ramón, Yvonne    152:1-9                 Mischaracterizes           169:1-25
Apr. 21, 2022                            testimony; Lack of
                                         foundation; Lack of
                                         personal knowledge

Ramón, Yvonne    153:8-12                Vague and ambiguous
Apr. 21, 2022                            as to “marry up”

Ramón, Yvonne    153:17-154:5            Calls for undisclosed
Apr. 21, 2022                            expert opinion; Lack of
                                         foundation; Lack of
                                         personal knowledge;
                                         Vague and ambiguous
                                         as to “best”

Ramón, Yvonne    154:10-15               Lack of foundation;
Apr. 21, 2022                            Lack of personal
                                         knowledge

Ramón, Yvonne    155:2-29                Calls for undisclosed      155:21-157:3; 158:2-15
Apr. 21, 2022                            expert opinion; Lack of
                                         foundation; Lack of
                                         personal knowledge;
                                         Vague and ambiguous
                                         as to “more effective”
                                         and “superior”

Ramón, Yvonne    167:3-8                 Calls for speculation;
Apr. 21, 2022                            Vague and ambiguous
                                         as to “Pre-Senate Bill 1
                                         process”

Ramón, Yvonne    171:24-172:17                                      170:5-171:17
Apr. 21, 2022

                                     3
        Case 5:21-cv-00844-XR Document 715-1 Filed 08/15/23 Page 4 of 7




                                                                                 Counter-
      Witness               Designation               Objection(s)
                                                                               Designation(s)

Ramón, Yvonne      173:10-12                     Vague and ambiguous
Apr. 21, 2022                                    as to “that”

Ramón, Yvonne      173:24-25                     Relevance; Partial
Apr. 21, 2022                                    question with no
                                                 response designated

Ramón, Yvonne      207:22-208:2                  Compound
Apr. 21, 2022

Ramón, Yvonne      151:16-153:22                                            149:20-151:15
May 10, 2022

Ramón, Yvonne      157:5-15                                                 157:16-22
May 10, 2022

Ramón, Yvonne      158:3-11                      Calls for speculation;
May 10, 2022                                     Lack of personal
                                                 knowledge;
                                                 Nonresponsive

Ramón, Yvonne      230:7-231:9                                              231:11-235:3
May 10, 2022

Longoria, Isabel   29:14-20                      Vague and ambiguous
Apr. 20, 2022                                    as to “the cure process
                                                 you referred to earlier”

Longoria, Isabel   30:4-7                        Vague, ambiguous, and
Apr. 20, 2022                                    lacks foundation as to
                                                 “previous testimony”
                                                 referred to in the
                                                 question

Longoria, Isabel   100:20-101:8                  Relevance
Apr. 20, 2022

Longoria, Isabel   104:3-14, 104:23-105:5,       Relevance
Apr. 20, 2022      106:7-19, 107:9-108:18

Longoria, Isabel   111:3-112:3, 114:22-          Relevance
Apr. 20, 2022      115:12, 115:15-116:13,
                   116:16-22, 119:2-121:7

Longoria, Isabel   121:17-122:7                  Relevance; Hearsay
Apr. 20, 2022



                                             4
        Case 5:21-cv-00844-XR Document 715-1 Filed 08/15/23 Page 5 of 7




                                                                               Counter-
      Witness               Designation            Objection(s)
                                                                             Designation(s)

Longoria, Isabel   122:17-25                  Relevance
Apr. 20, 2022

Longoria, Isabel   123:10                     No question
Apr. 20, 2022                                 designated; Incomplete
                                              answer

Longoria, Isabel   123:16-18                  Relevance; Vague and
Apr. 20, 2022                                 ambiguous generally;
                                              Vague and ambiguous
                                              as to “another case”

Longoria, Isabel   123:23-124:14              Relevance; Lack of
Apr. 20, 2022                                 foundation; Assumes
                                              facts not in evidence;
                                              Vague and ambiguous
                                              as to “those groups”

Longoria, Isabel   125:3-5                    No testimony
Apr. 20, 2022                                 designated; Question
                                              calls for speculation;
                                              Lack of foundation

Longoria, Isabel   125:10-25                  Relevance; Calls for
Apr. 20, 2022                                 speculation; Lack of
                                              personal knowledge

Longoria, Isabel   134:4-14                                              134:15-135:8
Apr. 20, 2022

Longoria, Isabel   141:21-142:5                                          141:8-20, 142:6-8
Apr. 20, 2022

Longoria, Isabel   144:3-9                    Argumentative; Calls
Apr. 20, 2022                                 for speculation; Lack of
                                              foundation; Improper
                                              hypothetical

Longoria, Isabel   145:1-3                    Argumentative;
Apr. 20, 2022                                 Leading

Longoria, Isabel   145:4-7                    Leading
Apr. 20, 2022

Longoria, Isabel   145:14-20                  Calls for a legal
Apr. 20, 2022                                 conclusion



                                          5
        Case 5:21-cv-00844-XR Document 715-1 Filed 08/15/23 Page 6 of 7




                                                                                Counter-
      Witness               Designation            Objection(s)
                                                                              Designation(s)

Longoria, Isabel   145:21-146:2               Argumentative;
Apr. 20, 2022                                 Leading

Longoria, Isabel   147:3-5                    Relevance                   147:6-13, 147:20-148:1
Apr. 20, 2022

Longoria, Isabel   148:16-25                  Relevance
Apr. 20, 2022

Longoria, Isabel   149:1-16                   Relevance
Apr. 20, 2022

Longoria, Isabel   155:7-13                                               155:14-155:24
Apr. 20, 2022

Longoria, Isabel   158:24-160:2                                           157:17-158:23
Apr. 20, 2022

Longoria, Isabel   73:1-9                     No page 73 on
Apr. 22, 2022                                 transcript

Longoria, Isabel   77:24-25                   No testimony
Apr. 22, 2022                                 designated

Longoria, Isabel   77:15-21                   Partial questions
Apr. 22, 2022                                 designated

Longoria, Isabel   79:17                      Partial question, no
Apr. 22, 2022                                 testimony designated

Longoria, Isabel   82:25-83:19                Vague and ambiguous
Apr. 22, 2022                                 as to “that distinction”;
                                              Lack of foundation

Longoria, Isabel   87:16-88:23                Exhibit 15 contains
Apr. 22, 2022                                 hearsay; Relevance

Longoria, Isabel   98:15                      No testimony
                                              designated
Apr. 22, 2022




                                          6
        Case 5:21-cv-00844-XR Document 715-1 Filed 08/15/23 Page 7 of 7




                                                                              Counter-
      Witness              Designation            Objection(s)
                                                                            Designation(s)

Longoria, Isabel   100:22-101:13             Mischaracterizes
Apr. 22, 2022                                testimony (attributes
                                             counsel’s statement to
                                             witness); Lack of
                                             foundation; Lack of
                                             personal knowledge
                                             (see 101:8-9)

Longoria, Isabel   103:18-104:3              Leading;
Apr. 22, 2022                                Argumentative; Vague
                                             and ambiguous as to
                                             “or something”;
                                             Compound (“election
                                             fraud or identity theft”)

Longoria, Isabel   105:11-16                 Leading
Apr. 22, 2022

Longoria, Isabel   107:2-22                                              107:23-108:22
Apr. 22, 2022

Longoria, Isabel   108:23-109:8                                          109:9-111:1
Apr. 22, 2022

Longoria, Isabel   118:7                     No testimony
Apr. 22, 2022                                designated

Longoria, Isabel   118:13-25                 Lack of foundation;
Apr. 22, 2022                                Vague and ambiguous

Vera, Alan         92:14-93:10                                           121:2-21




                                         7
